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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

W`EBER-STEPHEN PRODUCTS CO., a Delaware

 

COI‘]JOrHtiDH, Case 030vi462
Plaimiff’ lodge Cha'rles R. Norgle
V_ Magistrate Judge Sohenkier

PRO-IRODA USA, INC., an Ohio Corporation JUR~{ TRIAL DEMANDE[)
Det`endant.

 

STIPULATION AND ORDER OF DISMISSAL
The Court having jurisdiction over this matter, and the parties, and die parties having entered

into a settlement agreement, it is hereby Stipulat€d by all Of` the parties to the nasd that the claims in

Plaintiff Weber-Stephen Products Co.’s Complaint in the above*captioned ease should be dismissed with
prejudioe, the claims and defenses in Pro-Iroda USA, Inc.’s Counterclaim and Answer should he dismissed

without prejudice and that ali of the claims bn dismissed without costs to any party.

 

 

Attomeys for Pro-Iroda USA, Inc:. Attorneys for Weber-Stephen Produots Cc).
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By: /s/ Kevin W. Kirseh By: /s/ David I. Roohe

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Dated: November 3, 2008 Dated:` Novembor 3, 2008

Judge Cha;rles R. Norgle

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